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                      UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                             Alexandria Division


JUUL LABS, INC.,

                   Plaintiff,


v.                                                  Civil Action No. 1:19-cv-00715


YASER AHMED, GREG HILLHOUSE, PANTELEY
NIKOLOV, MIN ZHANG (敏 张), DANIEL WHITE,
WENJIANG MAI, DONG DONG WANG (东东 王),
ARTHUR BERNARD, MARK DERIAS, KEVIN
SULLIVAN, ANTONIO CRESSOTTI, RUSSELL
MCGOWAN, ZHENYU ZHU, LIAN CUI JIANG (莲翠
蒋), XIAO HUA WANG (小华 汪), ROY WALKER,
YERVAND SETOYAN, GREG WILSON, EMAN
GHALY, HAI YAN XIANG (海艳 项), JORDAN
HORST, MYRON DOYLE, BENZ TRAN, DENNIS
HAMMER, JIAQI CHEN, DUY TRAN, ANGELENE
QUIMBAYA, KENNETH BUSS, PENG LIN (鹏 林)
IVAN ZAMBAROV, APRIL CASELLA, NIKOLAY
ZANBAROV, TRACY WISBY, MERVAT
ABOULAYLA, NOAH MARTANO, NICOLE EGDORF,
JOSIF LEITNER, HARLEN NAPPI, ROBERT RULE,
MINGHUA HUANG, SARAH GRIFFITH, JACOB
COLEMAN, SLADE HANSON, ALEJANDRO PIEDRA,
CHRISTY VASQUEZ, HUI QI LIN (辉棋 林), WENBO
LEI, MARCIO DIAZ, ALI TOY, JESSE LAZAR, SIBEL
TOY, NIDAL HAMAYEL, IMAD RIHAN, ZAHEY
SAMEEH, JASON KIM, FREDERICK ROESEL, YAN
XIONG, BOBBY TAYLOR, CAROL PRINE, JIAWEI
HUANG, DARIO VASQUEZ, KENGATE LEEN,
JORDAN MCLEOD, KYLE JACKSON, KYLE
PATTERSON, and KIMBERLY STRATOS,

                   Defendants.
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                    NOTICE OF DISMISSAL WITHOUT PREJUDICE
                          AS TO A CERTAIN DEFENDANT

       Pursuant to Rule 4(m) of the Federal Rules of Civil Procedure, Plaintiff Juul Labs, Inc.

(“Plaintiff”) hereby dismisses this action without prejudice against the following Defendant:


No.          Seller ID/Defendant Name                            Defendant Email
                                                         Carolyn.Vaughae458@gmail.com
 9           iguel2_86 (Arthur Bernard)
                                                            iguel247ppayn@gmail.com

       This dismissal only pertains to the Defendant listed and does not constitute a dismissal of

all Defendants.


Date: August 22, 2019                           /s/ Monica Riva Talley
                                               Monica Riva Talley (VSB No. 41840)
                                               Byron Pickard (VSB No. 47286)
                                               Dennies Varughese, Pharm.D. (pro hac vice)
                                               Nirav N. Desai (VSB. No. 72887)
                                               Nicholas J. Nowak (pro hac vice)
                                               Daniel S. Block (pro hac vice)
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                                              Attorneys for Plaintiff




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